Case 4:19-cv-00226 Document 347 Filed on 12/09/20 in TXSD Page 1 of 30

Ton he Uni Lea Stak. Dis Zick Cour
For The So ther acid wd tex OS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

oud ore Division. Urdtod States Courts
. FILED
& 209 2020
aged Bradley, Clerk cf Coure
5 & ty

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Ai » third, E MN stion a

 

to)
P

 

 

 

 

>

 

 

 

 

 

 

 

 

 

P |
ES0085-01-07
Case 4:19-cv-00226 Document 347 Filed on 12/09/20 in TXSD Page 2 of 30

 

Plaintitl’ On A Wo Ya; Bon

 

 

 

 

 

 

Gall Cans, Neo Eudece 3 th. sical» QV (A,

 

 

 

 

 

 

a = LC. .
te Ayjoot aod _Neufy Discovered Evidence Uodex
Brady v_Massdaad ak aaa Si

bal Arison 14 ode Lime, Conitted Child
3 ov dak S de Co

Terthe thon grable get os Chi Unikedh
States Di: rick sludge , Hesi ra __s
\ x
Lome | Mor ain aul Coke. Paix Af in
pre Se. and ~ 11e5 his Plais S —Hhird Ener =

+ e On - re Ca i { ond ervsonal
niZoace Dona, ce.) uc “To yi euruano nchobn-
i larming Leevease 19 COD Cinees Ne Es
se ae open aa Mela
exed. Ted. ea der Bey a

pe

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   
     

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ES0085-01-07
Case 4:19-cv-00226 Document 347 Filed on 12/09/20 in TXSD Page 3 of 30

 

 

inact Es Kartal Avi iS a_| une
Rt Must, Ne Sea dele Soe

iO id respec oly

 

 

 

 

 

 

 

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

On Ockcber 12,2020 Plait Ap eepres-
eating himaelt orky ok bavek a Comeli f Hearing :
SD; fe hak ime he Mons Neen ra Codket OW Kiam

 

 

 

 

 

 

 

 

 

 

offs OPP Oma. elu 1D av - 5 on Z oun Skuce
Lalenet Legkog = 5. int wrt 7 Numerous dates algae
ess aot: allowed it, heaause Sk Since

 

 

 

 

 

Oatabes T2020 wR eee
the SH or ok Ihe J2OO Raker Ja Sai tn the

 

 

 

 

 

 

 

 

 

 

 

 

 

3S Flan. of the da Jail Th 19 BCCUTT because atte

 

 

 

 

 

 

 

£S0085-01-07 |
 

Case 4:19-cv-00226 Document 347 Filed on 12/09/20 in TXSD Page 4 of 30

 

 

“Me _S~

SI,
Tank

 

 

 

 

 

he Sins al\ of

et ei ~

 

   

 

Me pers
On

 

 

 

 

0 bed

ge io

D

 

ensu

anh 4

 

 

 

Neu >

 

 

_

 

 

 

Cnux So wl

T_ 201

 

| blk WT

ne
pale

 

 

 

iby Ihe Sergeaet
/\e_ 3g Lamates in ih.

 

 

 

 

TT

 

om <3

ex plained ) Aentlrech Sy

e@ Lest Sepne rave

 

Q

 

 

 

 

 

&

nat Hem

OM_nNwu)
~~
vn —t— odds ™

 

 

 

 

h. _ 2020 ( Februaes)

 

 

 

—T

 

DUK’ A

S-te

LA

h.

 

hated yah Coroneuinus (COO p14

 

 

hoe ivae

( Nhe second

 

o 1loO-l-ADA
wa

 

,) gy
Me

XY

 

 

 

Oeeond yrs had ne peck

 

 

hme end af Sun ita
ra)

 

eitt |
ne te

ao

ae

—_

 

 

cbouk 7 dog ep Ft oe ope
103° 2 Ten dag’. T+ Heo Ovey
al of this

 

. On 10- \- 2020
(kh Farehe v. Cola

 

 

wal

—

 

nck

~~

 

 

7

 

ae

~

 

AL oh ot m4—

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

“Ac t. ming “at wo
Taek, Matton L Keg acs 0 preseat mu del 5
Gras 2A To be Day TA y oroteded ty OM & immediate
thet af eins G L lf y J UOUAG Leal
wember And 2” otter G uiin4 TORE visor
th renter me td another aren am “obes

ot the’ (Cx
O

 

ES0085-01-07

ptt
Case 4:19-cv-00226 Document 347 Filed on 12/09/20 in TXSD Page 5 of 30

 

moved 4, the acd Hoov (3D- 1B) CU ay prein Kiy LA,
eat all of th « people _o placed rN 3D- 18 hase been: OE,
np ) pacoulted.. Ueterter robbed , Wic mized aac clogs
GCS ot Ae \or\. \ Dey Ae is tS
¢ BEE. Custed " Beoause with in she Nenris > uA TE.
Jail, per A nakdestron fees. “ere Noe Dole

Oo housing in e Horus Cai C

“je ails UTol, 1200 andthe: PO

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

OAL

Sine ots AN -115 1

Tag paced On (CO! -1%) CO ovonauirws Quar ; ts o)
“Te SOME ONE. Oy “Toro or hyetr ne he-

 

 

 

 

 

 

 

 

 

 

—

eV eO NoOvech @. or Yun @ ras
vO oo & mC

 

 

 

 

 

 

ar Se, - AGRE eve Con-
freed 1A TTA YS 1" ¢ moOsyT esey (he,
he | - e

diseade. is now al 1s CO rans Dince i

One thing LS ear Tudee!s Cn Heyy S$ vocan

(ie an) leeds a | ue. Alo Cin passi , & s
no

a

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
Case 4:19-cv-00226 Document 347 Filed on 12/09/20 in TXSD_ Page 6 of 30

inigech at ppc tial Aethainee_ ‘ hair iS reas tate
haves" Since COD

ok because“ NO
Since COIS? Hb ou Sou 1 howe age
een cputiched Dertevely woithosl Ly

 

 

 

 

FP? La a

 

 

 

 

 

 

 

 

vid
TH tinwously
ps Lt hen

a we its

     

 

 

 

 

 

 

 

 

 

{Kf

 

 

 

 

 

 

 

 

 

 

- | Plast ‘les hese Mations Mow |
WN OO DA | Och ( \ in
Orde TRO) NR he hele oe nbekt
: and Denied On. Apt | {ee yD by as u

 

 

 

 

 

 

 

 

 

 

 

 

 

 

_ the Hous ff asl this Ogurto a out +
shores / She: i

 

 

 

 
Case 4:19-cv-00226 Document 347 Filed on 12/09/20 in TXSD_ Page 7 of 30

 

 

 

fated hove nat had a rial or heen aonicted and aloo

mt payment hosed Ow bail (- Schedule amouits the
are pr MY get “torial individualized evi

+6 dztermine beth hey could be. safely ve! leased’ ON
onal bon

“The alain also ask this Gael ee as
nncon att Penal sdet of Govern v Cree Abbe & Eenittive.
Ovder. Gh — 9, which limits te CA er os “diseree

onto VSSULL. dexsonal bonds WV the a) ~J4 CHESS, »
The: ail dopulg LON has nz Deen veduced the ‘\ail po)—
ulcdionS S | |

Tt bee eee eRe
(ay | has m ° fa (ramnera

SH ond ADA J
Sudae Abinai Angdlasio the MA eo. al

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

7 Fg i D 4_v! along
Z_ oom | 4 apo EI | t< ( Mo
Body OYxn. On vo. ideo elt aac least [ay (cers

ud) Ye. SD0 A o £ ene Aj

«fh videos shoud \
Wot —L_! Plaudte Detend ac in hat
he Sideuxlk, am nok

 

 

 

 

 

 

 

 

 

 

 

 

 

L t / Hate Court IL b6 25d)

oad

ay < ( ) JX S'

 

 

 

 

 

oe pl

 
Case 4:19-cv-00226 Document 347 Filed on 12/09/20 in TXSD_ Page 8 of 30

 

 

ink maton.

La Sect v.

 

 

 

 

THOrris dhe U.S, Supeeme.

 

Court held )

 

« When, OPDOSING parti

—

 

 

ell

{ WO Ai Ger eet

 

Hories One. 6 se hich 16; Vi

 

 

 

N Yu Contra

 

eck byte

 

A. Corr sho

ados —th

 

( ‘ure

-
—

 

 

 

 

 

CA?

 

 

 

 

Noses 6 “valine

co

|

Could
Bt exci ral

O. Métion TOY SuyKm

 

 

 

 

5 Cation Satu,

 

 

ris, 550 U.S 372 (20

 

 

904

 

© Ose NLH€

Lr 5(

_ Veaaya

 

 

 

(45u

oh

 

Chev ‘rESPO ad

N &
Caner

 

 

5 Verdi

L2G.
\ 4,

a to endanser

ulm

 

 

 

_ONORNS 1S

 

 

 

e vec od.

rst WO VPCAS

wee

 

they dis
C

Le Kes
Nited) Ihe
nase se —

 

 

a

gt

 

==
a

 

 

Nor) &

 

ee him, The Cy

 

bn Suc

 

U Aiole.

“dio

 

 

ina

v

 

 

NGC 5 eo

 

t aks

{A the lake Neneh :

 

 

 

 

ee
a

estape Ci

 

 

 

 

 

Aastt v.

aryts \

OSsp OS. 39Q
IL7 LEX 2d Blo (2007 ne

12
Peas!

TS LY
be

 

 

 

 

 

 

 

 

 

 

 

t{—} 2 )}
" Visible Eraion 1S exatt uy shat < e
i » Ou A tO. One athe
VS0r A ‘nes \ GS uel a o lve. Luing iS
Somethin, at happens S Onc Goer Cer Gc er

 

en | ude f-OV

 

ey

wit were lus

 

  

e Call.

 

 

s . ‘(

€. S <n

 

ES0085-01-07

p. 3
Case 4:19-cv-00226 Document 347 Filed on 12/09/20 in TXSD Page 9 of 30

 

“Ts |
ce reveals XC | am \
Oe. And vhs uiould / thavvis el |} viton

ya e! A ev edi Cty M" GC
iA Fed ON thes fxn We atate mete

Caxreysno cxed ane [Sey iSa_

NG ~ WJ ua e \SCayriage HV Gu: ICe_

anch ahictous ) ean! na she wala’ a Taxco
aléo < bud 1S -

The videptane,
PIs police bout the ide
5 eae Ll JSomebae a vaded sil a Kab

These! videslane.s CAN be Viewed easily as th

are on line” san "4 wadegsancing Aiea Thonlds
| eid ceiewded. and 31a 5 th7Q_ rphey The

Sauls aT 2080, mit video does not attual
| ex of akz with.
Niche . i € Nn & Cpu Says La Sask U.
—ttarris . iA, Hh forts S hould Le Wierd inst £
A epitted hu uidestane . Dee? v : B-

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Ae ce Sonata, ond tA not a hate Lo mn his

head harmed . - - is Sl yew alte Sy fost and
Pre sACi é. +.[ tOW uu eal lLO i ox | N

we ‘Cal cond ion. hy, sd chase Somenag
ah catch 1 _ AG +o healt emis Coanot Yur.

he point Am FetTins ine et 1S e~¢€ \SNO

0. 4

ES0085-01-07 |

 

 

 

 

 

 

 

 

 
Case 4:19-cv-00226 Document 347 Filed on 12/09/20 in TXSD Page 10 of 30

 

Yer!

 

 

 

 

 

 

as tC 4 . wad

 

 

 

 

 

 

 

 

 

 

 

Ll Os) Abi dew

4 Ch

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ic

 

 

 

 

 

 

iZen “Vo tny | O¢ J Wud ©
dau Mu Ove cal aden es 4 Te G)
ae nixonce Donde A PC imesS Kars er
Al along diebe ach [= 2099 + othe G ated
act Eu anicteck a
ed

 

Hine

~ Ss.

Cons ed below ths had
Shh

2X05 4 con ,

 

 

nC
-A

Ga

 

 

= States Nehice ade

 

 

 

le ae

1.

 

Ovney

 

 

 

 

 

 

 

 

 

anhTys hibit C- Stak OY 2 Sngacl
© os ta hu “a _freseat val appears! 1 eb
= ral ING Y al i Ans

 

 

 

 

 

 

ne Yor px wi

st a Vnife

Wd Kf _
OWNCe 4 ie

HP)

 

 

 

 

 

 

 

 

 

CxrvresSTing me Should \ANC Yon G
Evan wy oA (SGN 3
rows. nat. “olen Hh omaess people ih 1G c

 

 

 

 

 

MY, slew canons

 

 

te

 

ee ull

 

"4

 

 

 

5 mea “le oc
it Oo me oucdion ‘was
The veleated prdbably usin 30

 

 

a

ONS

 

 

Cu LLdE \

Qu in Lai OW

 

me,

Oy 0

 

 

ES0085-01-07

ptO
j
Case 4:19-cv-00226 Document 347 Filed on 12/09/20 in TXSD Page 11 of 30

 

Legal A

0

 

postal Lab

 

 

 

A 5 iaty

be auced by how +

 

ects he.

 

 

 

leas

 

 

sich

 

 

 

 

 

 

 

ex oy “Nose ATT, There . edpecy L
On (+! OXY Cou x uN lexas « Ae tt ow -

 

 

 

biase
Now well Coane

A esed on,

the amok &

 

 

= Von Oxe™

 

 

;
« . - 1
hes 4 Q A

 

 

 

 

 

 

 

 

eed Renecdehat Cou { i ON bent
aR DYES L Yu uy pepo
Versus vetained la * Y +, ed

 

 

 

 

 

 

 

 

 

3a) MOY

Cand L

 

 

bu he Court:
D dorbonee ele

 

SO peard tt

Leer

 

persons
| .

—

 

ed pce seeceiveh

hack

 

 

 

Mitbenea's > oy “out “al (O my

 

 

est

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Oo ’ PPoe od aie.
Pome C:5D persons ng On, 4 ¢ areats ot ay SIO fT

have a lO thes avedtey? \elihood of

exnerience ust polite, aad ens (Ned 1A | iN

other _non-homele, S nwens. fave: , DOputZTe.s he

prisons one _U ustioe Penner at

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

lasek i cites, +H Ke Sth Civeutt UL S. Court + MApels
decision in ODennel “T_ oA OD onnel (ZN iA Bupd-
6 his pnation.

Ta Ow ell yi nr ks ovigina, Cen USIOA
hal ihe | Hon 6 a MONC. Kail ideted du:
pre 5 ype panel ( boiled dow) > € Vidkati on 4

 

 

 

 

 

 

 

Ais Srtu

Mor. ! Odonnell lve

 

 

 

OTS , Qounte

 

( Donnetlt Co)

iS wth $92. F3d 47 (2013 Lexis MTB |:

 

 

ES0085-01-07

plO-A
Case 4:19-cv-00226 Document 347 Filed on 12/09/20 in TXSD Page 12 of 30

ati se siikate o)

word Canny

lake Hoe (xxi shemearor) Ti. )
eyy wiau ~ Seung. a ha Same criminal back.

grounds, Same. wreuhestancess y et Cs O excest-t one. iS,
ei 1gevcl- One. axrreclee_ 18 able Q,

has and d is na Ns argsut tne wealth

id less \ act Aah quits ore \ikely 7 gf
hortexr Sorterce ¢ OY LO acputteds as and CSS ‘ikl Oo Neary

the Socia. anats £ in cavoerati HOA. “The pear alee. (tf

Cortrash MAS hear the by unc ae all Ie hese . Sime
beopuse he fh iw | Shan his thee Coste
Darl, diate ek Court hel rok this state atta

Wrolates Ae equal oratech on Clause. ond vd agvee_.Ci 04

DDennell TQ 372 F 3h @ \U3.

. [ne leat piece iS Cytitaas . ol )stenction at indigent
arresieeS and eleade ac Weak Niger ones 1S nat elonst:-
tonalla, “ki. purely because she lenath A Ask Hon.
Treads the Cob nsidered & he lagth fe Suc
Aztention. ait Vi: hood a pleading aibhse | \e eet ~
| ene GN) and the Social ass Gh Steak: |
Dye Hol, IN CAYCE YR TION. Coused bu ON unconatife 70 | \|

Pig Aiding ODoanell Vv. Cobbhaet. 100 E3d RAD
5S Cie B19).

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

_

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

tla “ usould move “To Gorpel hg eee open.

 

 

 

 

. 10-2

ES0085-01-07
Case 4:19-cv-00226 Document 347 Filed on 12/09/20 in TXSD Page 13 of 30

 

 

“Tomes F. Groves Je, Civourt Cu hee of the bi BA ore
uit United Shales eur of Appeal’ where he held:

é tk hail Pyachces will

mr v ion. add due proce SS ~tO

( J are oe unle s+the

a Adecd preliminav ‘ AWwazton. iS cy and i mmedia elle

{ tA ISU in GQ -

: yp eoual uakice to al -

2404 ~be mong, inthe _dlninishection. Ov tks ayi inal loud, »

ha Wat Criffin U “Tllinoes. 3S | UL. A. MA, Iq, V6 5.

5k Soo L Ed. 431 (ask).

The
OU We DY? VIO {Si Ore sar Abus Le,

1245) aad f NOALN OLN v NIOE me ad 13 OT

Leis i G03); We eckno es e aitedA, -

“b ed- 6 ‘divas ae Udeve heh Lond

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

 

 

  
 

 

 

 

 

 

i Leas CQ
OTS LS inwidiond Crimi aren, and no (

tonal » : ing 4 pul
i | . | : Kil ; A " and
| - : \

J) fog . . q +

ey’

aT 7
0 op JO-C

£S0085-01-07 |

 

ks Thninh), “ pspsonysekt sdb

 

 

 

 

 

 

 

 

 

 

 

 

 

 
Case 4:19-cv-00226 Document 347 Filed on 12/09/20 in TXSD Page 14 of 30

 

 

 

 

 

7 ) _—__—
—\— OWN IM NUND COMDY OM é-Cai se 1 an S5_

 

 

 

 

Ue yd old ond have. -f the fall lowing physical impaicmecks

L Tuberculosis Rxpopae 1443
rit Medicine. = - Le month's

Lungs ty F

 

u

(
2) 4h Clea Hegeuce as as

 

 

 

 

 

 

 

 

 

 

 

 

 

 

     

 

A Chica Mato : 4 pression _ \ m

5 \Auffoved Ago) - 1G ( Coraxess; wus). \
~K (Ce in Hevris CosTail /ex\ [Su >
Ck Tye 5 deed if o>

A
v } i Cv ¢
aiae * (AM 2g - ‘
ve os :
ZH

eS eda } ON OGmGS

FS. ct
a DAO IOAN 0
C) Wa ) - ‘ s

NAVAL NT

  

 

 

eee: ox < dederel )

pO —D

 

ES0085-01-07
Case 4:19-cv-00226 Document 347 Filed on 12/09/20 in TXSD Page 15 of 30

 

sludge Resathal please Qe i Cort —§ f his Accuneit

 

 

toast

 

wie aC EsRri

 

 

1 ase a Dvolben

 

 

Sorts 9

 

 

GnoWey Pre Neer, an
hate CA LV cre Coote. of conplainfatk (Kertal) nla

 

 

 

 

molealns

 

 

Felons.

 

 

‘imingl vecord ,

\_ Ansants /

 

A Cond Order, 5

 

ould. be. “ent Ye

 

 

2 Welitberm

 

 

actal_Ayi

isan emnly

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

\ ine Evan eye NCC CU Se
i iateved, Dex (utrp Nass €
‘led hey “Ho pew Ac and ianocect ung Chid-

ver ao te he ves ebafe J. aAeli- Kate DebCon Dostheing

ith Gheir Dover t “Te eat * Neuacdy_ dunner. ete. Meisan
| Hb flowsed lo world anu shere where

 

 

 

e viod .

Levgq tap 2

Vayen. ON R_ (:
nN

 

Seave

 

cA

 

 

ye eel ess mean ah

ct WOW)

)

ey.

 

 

a3

ue

 

 

 

¢ ©

 

Re roe

 

 

 

 

 

med

 

lat eee he ee

 

 

 

 

 

eCausSe —|_

did ro

 

 

 

 

 

X

 

 

 

= aA oe
peggel_usth Poi

 

 

‘Cio Fernandez and Maccen LW Silians

 

4t GIVI ‘Cons dosed

BS - Kron? HOW

 

Cand I

QW e_

 

works ok ats | e\i, Lally Wee!

 

 

aia

 

 

 

fon Te

 

 

(3) Sal- S39.

 

ga.

 

Co

4

 

Jj ic

ewa4s Toole -6

—e)

 

pt |

 

ES0085-01-07

|
Case 4:19-cv-00226 Document 347 Filed on 12/09/20 in TXSD_ Page 16 of 30

ender _and has the ‘elloasing oviminal =

I) * Cause, Ho HOTEL ae 003

,
—_——— V5: ‘Coot

LAST Ke C He ATU
Disposition 2/13 Qc
a postion Lk ata EE Wo Su
Sentence - 2 Gehvs TDC, o

Q. Cc 603

> fe Seiad Cos rare Dt ne
tt ). Zee 2 Veres | a

oF ate DD - (113) al -3 $33 [isle leat emer RA,
touston isd T7100, — Nv ey Exar Kactel LSA.

Vito Da , Seyves chil deen “ted bei pg Fhe -

ees Kate Deli and a

 

 

 

 

A

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

Ch (1 Melesons che at pe

D2 allowed + usavk Gheve | an

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ES0085-01-07 j
Case 4:19-cv-00226 Document 347 Filed on 12/09/20 in TXSD Page 17 of 30

 

 

Report.

 

 

 

 

at

Jude

[>

ask +t. mneption ‘eo Fail; OG
Offender.

> Register Hepety as

 

hal a

 

rk = a Esky

 

 

 

 

 

{ ‘fs tov.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

asking an Hop o Nave ae ey

Su ave Une ra CLES 2 AY OvA:
Drose cule * Fan. axta| Avisan and h ») his em Y—
breat at KalZs E Del. Voc: ed lot le. cat camer RoGll
D vmanently “fees eck 7 ¥ WUC = 7 of CI Nye i pu

< Com . Adda rol Vv SAG €

Should De tA ihe 6 4 i. 7) try ie eng —
aged in more. a4 —_ child ni cls

 

 

 

 

 

 

Nitayar

wba —_
cS

 

 

 

 

 

ey Cove» remise 4 Considl

 

ead, P

ait

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

prays “Kat H xone t Groat him Wer valiet hid
Re Yas De £ eA in Sse Droceed £ and tors
veliee te solic pe L inde ke
| Le Kroaces4 Tandamontal to. mv Bess , and Ey (fe, -
tection. audes of the Ouyxl eer ik mendme torte
United St 25 Siran —Krinciples ot As Land
ke uc\ —Lanccesce ue Mia ak [Nock A
Ste O €
dS 2E IOS q7 -
S Sher . 434 E.Qd $3, as laws, \ Ch

 

n, Ness

 

he Conte

 

 

LOAL mal BO reg ui

 

 

ES0085-01-07

15

 

 
Case 4:19-cv-00226 Document 347 Filed on 12/09/20 in TXSD Page 18 of 30

 

No moted ond Draged Yoaictll

ast's fey oll

 

 

yr as

 

 

veliek Sonal herein ant tay

 

 

he oust deems
te a (6 tamale

 

 

 

 

 

 

 

 

 

 

 

 

 

 

bese To Se_

 

 

( Lndwornc Dy clavark

 

 

 

 

ac b Tie AY

 

CT “T_, Devin Y ul

 

 

 

 

 

de, APNE OBIHSS Y4 pan innate,
A tr he ayyi4  Caurty Vaz <laj

 

 

 

 

 

 

( outtony Lexas

 

 

 

7) (
+ £ ANove nck Xv

 

 

alt

in Mevyis
uy Ol,

 

 

‘

 

 

 

Croupcty
her

 

 

ionate Release. (

 

 

 

dD anemic) ANC aT en A al Ol

 

a °
Eee ed a ad SAusovn

 

4 0 Kespectle My Submit

 

cd,

 

 

en tWS Aah dew af
December , $5.20.

(\

n_“Y/)

y)

 

 

 

ES0085-01-07

 
Case 4:19-cv-00226 Document 347 Filed on 12/09/20 in TXSD Page 19 of 30

 

— —_—

 

 

Append & Exhib Hs | Maced \

 

 

 

 

 

 

 

 
 

Qdsell vs. -tarris Crusty ( Kasethal) \

(. VS. > artis Co bs idee ) |

 

 

 

 

 

>

ja

 

 

 

 

FP’ Osiminck:

at =A = Alales oe ta
la Rate by
ow

V ADA — Cig Tey ame z

 

 

 

EI

 

 

 

hit ~ 6 — rex rom K— Movin
Thomas J. Lewis fA

 

 

 

 

; rane QT* 20RD sian
{ ide Y does aot Arow me Gsne
he Kate mangsec with a Kul OD

 

 

—_— 3 :
Es 4 -C- Sub pplicirin +. Kate.
Dai esthe:

 

allo W CAM LY Road
Houdtan Ix. 7700l (113) 521-3438

 

 

   

| , l +,
Sin g.5 prtendgats f Complain -

 

 

 

(-A-)

 

 

 

 

ES0085-01-07

Kopendiv ak Eu AS
Certified Document Number: 92924962 - Page | of 2

Case 4:19-cv-00226 Document 347, Filed on 12/09/20 in TXSD Page 20 of 30

Filed 20 November 03 P4:55
Marilyn Burgess - District Clerk
Harris County

EA001_604265

By: M MARTINEZ

 

CASE NO. 1666250

THE STATE OF TEXAS § IN THE 1847
§

VS. § DISTRICT COURT OF
§

DEVIN PAUL COLE § HARRIS COUNTY, TEXAS

STATE’S NOTICE UNDER BRADY v. MARYLAND

COMES NOW, the undersigned Assistant District Attorney and files this State’s Notice under
Brady v. Maryland and would show the Court the following:

1. The above cause number is pending in this Court and is set for trial on
November 18, 2020

2. In addition to defense counsel’s access to the State’s open file, the undersigned
Assistant District Attorney hereby gives this notice to Defendant and his counsel.

State’s Witness EVAN KARTAL ARISAN, has the following criminal history:

Cause: 140966601010 CDI: 003

POSS CHILD PORNOGRAPHY Crt: 230 Disp Date: 6/13/2014
Disposition: CONVICTED - GUILTY PLEA-NO JURY
Sentence: 2 YEARS TDC

Cause: 140966501010 CDI: 003

POSS CHILD PORNOGRAPHY Crt: 230 Disp Date: 6/13/2014
Disposition: CONVICTED - GUILTY PLEA-NO JURY
Sentence: 2 YEARS TDC

Respectfully submitted,

/s/ Patricia Fernandez
Patricia Fernandez
Assistant District Attorney
Harris County, Texas
713.274.0481
Case 4:19-cv-00226 Document 347 Filed on 12/09/20 in TXSD_ Page 21 of 30

See
.
+
s

of oF FARR.
i eo ae tre Oo *.
ior , 2%
iO: 7 Si
20; —
tet ine?
eo o ars

se % fanaue gtk

7 *
“een cg?
Pampa eet

I, Marilyn Burgess, District Clerk of Harris
County, Texas certify that this is a true and
correct copy of the original record filed and or
recorded in my office, electronically or hard
copy, as it appears on this date.

Witness my official hand and seal of office
this November 11, 2020

 

Certified Document Number: 92924962 Total Pages: 2

Mil Ben

Marilyn Burgess, DISTRICT CLERK
HARRIS COUNTY, TEXAS

In accordance with Texas Government Code 406.013 electronically transmitted authenticated
documents are valid. If there is a question regarding the validity of this document and or seal
please e-mail support@hcdistrictclerk.com
Case 4:19-cv-00226 Document 347 Filed on 12/09/20 in TXSD Page 22 of 30

THOMAS J. LEWIS

ATTORNEY AT LAW —B _
1602 WASHINGTON AVE.
HOUSTON, TEXAS 77007

TEL: (713) 868-0081
Fax: (713) 861-2951

 

July 27, 2020

Devin Cole

SPN #02145549
1200 Baker St. 5-H-1
Houston, TX 77002

Re: State of Texas v. Devin Cole
No. 1666250; 184 District Court.
Harris County, Texas.

Dear Mr. Cole:

The 184" District Court ordered a psychiatric evaluation in your case because there was
reason to believe that mental illness may be a defensive issue. The evaluation has not been
completed as of today’s date. Mental health evaluations have been substantially delayed due to
unavailability of trained personnel during the COVID epidemic. Accordingly the court has reset
your case to August 26.

The surveillance video from Katz’s Deli proved to be inconclusive] However, I hayé viewed
Zihe bodycam video of the principal arresting officer, Victor Regla. The video does not actually \

__Show you chasing the manager of Katz’s with a knife. However, the manager tells the police on the
\__ video that he saw you slashing tires in the Katz’ parking lot and chased after you. He says he picked
#{ ~~ up your backback and you turned around and chased him with a knife.

On the video you appear to be screaming incoherently. It seems that you were either
intoxicated or suffering some sort of mental episode. That is why it is very important to have the
psychiatric evaluation which may assist in your defense.

oH
EConeur eras C ore cboratt iy statemed ery truly yours,
by a Lobe Bek tL emndp er Ox ee

OTe WOR has Yedren) eck We

Video evidence anch et. flu ates

Faracuannan. wotlk DiGrlad? Basin By Cle.
Ao? C+
7 B- ee ‘he

 
Case 4:19-cv-00226 Document 347 wel 12/09/20 in TXSD Fiteaoga Mareh4@ A10:46

Marilyn Burgess - District Clerk
Harris County

SUP_801922

By: M MARTINEZ

 

APPLICATION FOR SUBPOENA BY STATE FOR WITNESS IN THE DISTRICT COURT.
Dana Nazarova- March 13, 2020

CAUSE NO. 166625001010 003

THE STATE OF TEXAS IN THE 184 DISTRICT COURT
VS.. OF HARRIS COUNTY, TEXAS
DEVIN PAUL COLE OFFENSE AGG ASSAULT W/DEADLY

WEAPON Ve
e

Please issue a subpoena in the above-styled cause for the following named witness(es) whose loca ah vocation in this State, as far

as known, I state below: &
°

Katz Deli Management , Vocation: Unknown, Service Type: Peace Officer &

616 Westheimer Rd Houston, TX 77006 713-521-3838, County: Harris °

Special Instructions for Witness: Please provide our office with a copy of surveillance foo an incident that occurred on February 27,

2020 involving a Manager Evan Arisan. The defendant was seen looking into the window o restaurant at people eating. The manager

went outside to tell the defendant to leave and saw the defendant in the parking lot area sldéinthe tire of a parked vehicle. The defendant

began to walk off leaving his backpack. The manager grabbed the backpack to give to before the defendant came running up behind
the manager and chased him with the knife.

Please produce said records on a CD, DVD or other electronic format in 14 vere from date subpoena received to:
g

Harris County District Attorney’s Office

Matilde Falcon &
500 Jefferson, Ste. 600 WO
Houston, Texas 77002 a
7
IN: OFFENSE REPORT NUMBER: 027248820 Qo
fa a

Texas, on INSTANTER at 8:45 A.M., to give(€viglénce in behalf of the State and Defendant in the above styled cause wherein the State
of Texas is the Plaintiff and DEVIN PAUL ‘0 is the Defendant, and to remain there from day to day, term to term until discharged
by the Court. The testimony of said witness NS believed to be material to the State.

PX
if found in your county, to appear before the os ABIGAIL ANASTASIO, IN THE 184 DISTRICT COURT, Harris County,

 

eX
i Y
YQ
9 © Dana Nazarova
&S Assistant District Attorney 24104105
ES Harris County, Texas
WY 713-274-5800
S NAZAROVA_DANA@dao hetx.net
Case 4:19-cv-00226 Document 34” Filed on 12/09/20 in TXSD_ Page 24 of 30

Cause Ao. | blole. 230

 

 

 

 

| 8 | .
the State of Texas 4 the 184" Digvet

 

 

NS. S$ Court at

 

 

 

a ~~

“Te si amiss tros

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ES0085-01-07 l -
+ p-

 
Case 4:19-cv-00226 Document 347 Filed on 12/09/20 in TXSD_ Page 25 of 30

 

Tthe:

 

 

 

 

Honorable. Abigai adX\c
\ =

 

a

 

Nudge:
T

 

Mow Come.

Devi

 

 

 

2 Detendaxti WwW

 

 

 

 

 

    

NK saya AQ
Pro S¢ pursuaitt to Tove! aN. C Conia yA US. Boh,
1455.09 vi te

 

   

si t
a Eas

 

 

 

 

 

 

7 Miata Ter

is baseck

 

copplaing iS . Registered + Pdable - Sex

 

 

 

 

 

Child "des

 

 

oy ond Convicted

te en. Def

 

oleate les his Metion +. Dismig

 

 

Tad iets

NON

 

Ue

te Serious vedi

 

 

 

i fi

 

Comela; OSL |

 

(E

 

 

 

 

 

 

ol

-—T

wecnnel

 

 

rsSues with

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

sh ust 1.5 an K—-
victed ted ahi rl ‘e | Dex OA)
VYssession Chi A Yorn o¢ve phy ne (c ot} Cases in v1
Couch, GC ld

Da +4 New Disco vered Evi dence Tutas
browgith Me Dt Dent : Low or Na) bev
1Q .¢ oR Om, Vs % eX NOAACTZ NSaiS' (S—
+e Morey basuast sho Brady MA rvvload 3°73
633, 383'CH 1194 (1963) Me Gndart Rerein resp-
oF Tu NOUS “hi oe ¥U_ancdk he—Hawris ATU
JASiriov_ PHtomne OH ice ay inmedi zte dis i |
st 1S Rosek eon On Ond _\ ndict Men with deludice
“Dele ee a de m rhe f

 

 

 

 

ES0085-01-07

 

 
Case 4:19-cv-00226 Document 347 Filed on 12/09/20 in TXSD Page 26 of 30

 

hos NIE in, his ne of SS yeoo \, with.

OY Connicted of sie ot Anak he. Neu ey Anill!

 

 

 

C nol watt EB. Kartal Avi N\ on
of ae ‘DA; a Or. Weal eimer had (ea cas
Th. ay y Tos 3 af { +

 

 

 

 

 

 

 

  
   

 

 

 

 

 

in Ca | a -
FloloS anck wsas Set =
sev ns ot i mprisna mer. Jee Vet

Two -k cis Raat J Child Mclestows ore nok

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

aved'ble. This exculpetoy and im peadhing evidence.
wartaaks ~ Dismissal! ‘ Oe enous. Imes.

 

 

 

 

 

 

 

 

 

 

Ldhesgtop Ce tke iSe5 Cope Dn
Dra ws vot +} e Court Gyack his shar a

Widdiss Lid Rosecit on ond Ladictmn Cr with
Keeiudicg

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ES0085-01-07 Cc |
Case 4:19-cv-00226 Document 347 Filed on 12/09/20 in TXSD Page 27 of 30

L \

(ssssarns Declaration by 1 anale.)

— < . _
TT Divin Pull, SPAW 0245544, an inmale

iat IONS Cao x ail in Heres Court

‘ der Pen { u ,
ape taraoing. Detendbats Mbdolte Dismiss
= ri x LO”. auheth. sade mentl duce ™ Devious

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   
   

 

 

 

 

 

 

 

 

db Wolethd and : stud all

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

/ ~ + \
( Qoertticste at Seruice |

Ag ce we nosl A +, ADA —hee ONNEZ Lm ac a
Ce. On dent RASS | OAD,” \\" fe 4

LY warty CK

oA |

ES0085-01-07 }

Ss

 

 

 
Case 4:19-cv-00226 Document 347 Filed on 12/09/20 in TXSD Page 28 of 30

———  —-Deceinbrer H

 

 

 

 

 

 

* ly. David J. cS. Brad
United

Stedkes

 

iz

 

 

ores Date

 

 

Texas Os

 

 

 

 

 

 

0. Hox Lolo)

ttousten, Texas 17208

“Devin Rul Ce yp (The 49. ude 8 1983 \
AO)

 

 

200° Rev & iS g Jel
tousston j Texas 17100 2

 

 

fuss v4

 

boy

 

Cou

- Civil Act $+ 19-296

 

 

xR

 

je Lee HH.

 

 

Dent a

 

< DY comp Sling of
O

eadinc “Sudee. ood
og Oud

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

laine a Emerg Cy Neon 4 Q Como | Con
 Raease ob dess Plaintif’ Ge A Ne
6 @ CoviD -| Ses, Alo
es Merce 6 ox to ; €. eu) uy { (5
eodeved E: E vihencd? dev Yr V. t nd aid on
plai nate Evan Kar a\ an-4A5 a7 ime C wd a

 

 

 

 

 

 

 

 

 

ES0085-01-07

 
Case 4:19-cv-00226 Document 347 Filed on 12/09/20 in TXSD Page 29 of 30

 

 

 

 

 

 

_Deay (Nov. Drodley Ser, ,
Please Ly “i cndoaa e qvove and ovaoing.

laiatetfls Me On” \OY Compassicng 2 Rdeade Lt
\W- | Kea ( 43 ro
be promp uy ey cade boy Sere. Phe

coy th Led eval Lad.
Pease presen this Me TRA + dee Kosehal

OOO ND OSNCA 2043; O1eDY_Ox AN 4

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

OA AJe

,
Hi
—"
) =
(s
<3

ance veearding

 

 

 

 

 

 

 

 

 

' ee

NW eris uaty_s | a

 

 

 

 

 

ES0085-01-07
 

 

 

Devin Pal @ le.
SPH OL 145549

athens County Sail (3D- iB)

200 RK Shea
ouslon Texas TIO OQ coin Se

LEC 69 2020

Davi
Pavid J, Bradley, Clerk cf Cours

At a Chieh! U.S DishiatTudge Lee th

XK Moe. ION \ ido Bradle Nek
United Skits D Dig ath
For The Se Distret sf Teas
RO Bex GIO1O0

(Mas led on 1/4 2020] Houston Texas 772.0 $
al LEGAL) ;

©
O
Ar PROV ‘D
NOV 25 2020
LEGAL INDIGENT MAIL

inmate Services I Division
viminal tietica Camman a

 

 

SPI Pag Pag

  
  

v-00226 Document 347 Filed on 12/09/20 in TX

 

 

 

 

 

 

 

 
